        Case 1:14-cv-00403-RDM          Document 215         Filed 12/15/21     Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 SAI,
                        Plaintiff,
                v.                                        Civil Action No. 14-0403 (RDM)
 TRANSPORTATION SECURITY
 ADMINISTRATION,
                        Defendant.


                                JOINT STATUS REPORT

        On May 29, 2020, the Court issued a memorandum opinion and order granting in part and

denying in part Defendant’s renewed motion for summary judgment and denying Plaintiff’s

motion for summary judgment. Among other things, the Court denied Defendant’s motion insofar

as it failed to justify Defendant not searching certain offices for records responsive to Plaintiff’s

request for records under the Freedom of Information Act.

        In light of the Court’s opinion, Defendant intends to undertake a supplemental search. In

an effort to narrow any disputes that must be presented to the Court, Defendant has engaged

Plaintiff’s counsel in an attempt to reach an agreement regarding certain aspects of these

supplemental searches. Negotiations have progressed through multiple rounds since February

2021, and the parties continue to make progress. Most recently, Plaintiff’s counsel posed several

questions on August 19, 2021, and Defendant provided responses and a proposed search

methodology on November 1, 2021, which Plaintiff’s counsel is reviewing.

        In order to allow the parties time to attempt to reach an agreement regarding certain aspects

of these supplemental searches, the parties propose to file another joint status report on or before

January 31, 2022.
      Case 1:14-cv-00403-RDM         Document 215           Filed 12/15/21     Page 2 of 2




Respectfully submitted,
 By: /s/ Jeffrey T. Green                           MATTHEW M. GRAVES, D.C. Bar. #481052
    Jeffrey T. Green, D.C. Bar No. 426747           United States Attorney
    Chike Croslin, USDC D.C. Bar No.
    D00514                                          BRIAN P. HUDAK
    Amanda M. Blau*                                 Acting Chief, Civil Division
    SIDLEY AUSTIN LLP
    1501 K Street, N.W.                             By: /s/ Anna D. Walker
    Washington, D.C. 20005                          ANNA D. WALKER
    jgreen@sidley.com                               Assistant United States Attorney
    Telephone: (202) 736-8000                       555 4th Street, N.W.
    Facsimile: (202) 736-8711                       Washington, District of Columbia 20530
                                                    Telephone: 202-252-2544
 Counsel for Plaintiff                              Email: anna.walker@usdoj.gov
                                                    Counsel for Defendant
 *Admitted to practice in New York; appearing
 pro bono pursuant to D.C. District Court
 Rule 83.2(g)

 Dated: December 15, 2021




                                                2
